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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


Shannon Perry, on her own behalf,
and on behalf of her son, A.M.
                                             §
                                             §
Plaintiff                                    §
                                             §      CIVIL FILE NO: 1:20 cv 01187
vs.                                          §
                                             §      JUDGE SOLOMON OLIVER JR.
Lorain City School District,                 §
                                             §      NOTICE OF DISMISSAL
Defendant.                                   §


       Now come Plaintiffs, Shannon Perry, on her own behalf and on behalf of A.M. by and

through counsel, and give Notice of their Dismissal of the within action pursuant to Federal Rule

of Civil Procedure 41.


                                             Respectfully submitted,

                                             /s/ Michelle K. McGuire
                                             ______________________________
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                                             Cleveland, Ohio 44181
                                             (440) 396-7844
                                             Michelle.attorney@gmail.com
                                             Attorney for Plaintiffs



                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Dismissal was sent by this Court’s
electronic system on the 25th day of August, 2020. Parties may access this filing through the
Court’s system.
                                               /s/ Michelle K. McGuire
                                               ___________________________
                                               Michelle K. McGuire

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